 
           Case 1:19-cv-01275 Document 1 Filed 05/01/19 Page 1 of 6



                    IN THE UNITED STATES DISTRICT COURT FOR THE 
                                  DISTRICT OF COLUMBIA 
                                               
WENLI CHEN,                                      
                                                 
  1034 Hilltop Dr                                 Case No. 1:19-cv-1275 
  Duncansville, PA 16635 
 
v. 
 
UNITED STATES DEPARTMENT OF  
HOMELAND SECURITY, 
 
Serve: Office of the General Counsel 
       Department of Homeland Security 
       Mail Stop 3650 
       Washington, D.C. 20528 
 
UNITED STATES CITIZENSHIP AND 
IMMIGRATION SERVICES, 
 
Serve: U.S. Citizenship & Immigration 
       Services 
       425 I. Street, N.W., Room 6100 
       Washington, D.C. 20536 
 
KEVIN MCALEENAN, Acting Secretary of the 
Department of Homeland Security, 
 
Serve: Office of the General Counsel 
       Department of Homeland Security 
       Mail Stop 3650 
       Washington, D.C. 20528 
 
and; 
 
 
L. FRANCIS CISSNA, Director of the United 
States Citizenship and Immigration Services, 
 
Serve: U.S. Citizenship & Immigration 
       Services 
       425 I. Street, N.W., Room 6100 
       Washington, D.C. 20536 
                                               


 
                 Case 1:19-cv-01275 Document 1 Filed 05/01/19 Page 2 of 6



    Defendants.             
 

    COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’ 
     REFUSAL TO ADJUDICATE PLAINTIFF’S APPLICATION TO ADJUST STATUS 

         COMES  NOW  Plaintiff  Wenli  Chen  to  respectfully  request  a  hearing  before  this  Honorable 

Court  to  make  a  determination  on  Plaintiff’s  application  to  adjust  status,  or  alternatively  requesting 

that  this  Honorable  Court  issue  a  writ  of  mandamus  compelling  Defendants  to  adjudicate  Plaintiff’s 

long-delayed application to adjust status.  

                                                   PARTIES 


         1.        Plaintiff Wenli Chen (“Mr. Chen”) is a citizen of China.   

         2.        Mr.  Chen  is  a  law-abiding,  long-time  resident  of  the  United States who is married to a 

U.S. citizen, Jessica Fisher. 

         3.        Mr. Chen resides in Duncansville, PA. 

         4.        On  October  30, 2017, Mr. Chen filed an application to adjust status to that of a lawful 

permanent  resident  based  on  an  I-130  Petition  for  an  Alien  Relative  filed  by  his  spouse  on  the  same 

date. 

         5.        Mr.  Chen  successfully  completed  his  biometrics  approximately  one month after filing 

the application. 

         6.        On  February 12, 2018, Plaintiff was scheduled for his adjustment of status interview at 

the USCIS office in Pittsburgh, Pennsylvania. The interview was completed successfully. 

         7.        On March 14, 2018, Defendants approved the I-130 filed by Plaintiff’s spouse. 

         8.        Since  then,  the  Defendants  have  taken  no  action  on  the  pending  adjustment 

application.  




                                                         2 
                    Case 1:19-cv-01275 Document 1 Filed 05/01/19 Page 3 of 6



         9.          Since  Plaintiff  filed  the  application  to  adjust  status  to  that  of  lawful  permanent 

resident, he has completed multiple service requests and status inquiries.  

         10.         USCIS  has  refused to adjudicate Mr. Chen’s application in accordance with applicable 

legal criteria.  

         11.         Plaintiff  brings  this  action  to  compel the USCIS to finally - after ​more than eighteen 

months​of waiting - adjudicate his pending applications as required by law. 

         12.         Defendant  Department  of  Homeland  Security  (hereinafter  sometimes  referred  to  as 

“the  DHS”)  is  the  agency  of  the  United  States  that  is  responsible  for  implementing  the  petition  for 

alien relative provisions of the law and assisting the DOS with background and security checks. 

         13.         Defendant  United States Citizenship and Immigration Services (hereinafter sometimes 

referred to as “the USCIS”) is the component of the DHS that is responsible for processing adjustment 

of status applications. 

         14.         Defendant  Kevin  McAleenan,  the  Acting  Secretary  of the DHS, is the highest ranking 

official  within  the  DHS.  McAleenan,  by  and  through  his  agency  for  the  DHS,  is  responsible  for  the 

implementation  of  the  Immigration  and  Nationality  Act  (hereinafter  sometimes  referred  to  as  “the 

INA”),  and  for  ensuring  compliance  with  applicable  federal  law,  including  the  Administrative 

Procedures  Act  (hereinafter  sometimes  referred  to  as  “the  APA”).  McAleenan  is  sued  in  his  official 

capacity as an agent of the government of the United States. 

         15.         Defendant  L.  Francis  Cissna,  Director  of  the  USCIS,  is  the  highest  ranking  official 

within  the  USCIS.  Cissna is responsible for the implantation of the INA and for ensuring compliance 

with  all  applicable federal laws, including the APA.  Cissna is sued in his official capacity as an agent of 

the government of the United States.  




                                                           3 
                Case 1:19-cv-01275 Document 1 Filed 05/01/19 Page 4 of 6



                                           JURISDICTION AND VENUE 

          16.     This  Honorable  Court  has  federal  question jurisdiction over this cause pursuant to 28 

U.S.C.  §  1331,  as  it  raises  claims  under  the  Constitution  of  the  United  States,  the  INA,  8  U.S.C.  § 

1101  et  seq.,  and  the  APA,  5  U.S.C.  §  701  et  seq,  in  conjunction  with  the  Mandamus Act, ​28 USC ​§ 

1361​. 

          17.     Venue  is  proper  pursuant  to  28  U.S.C.  §  1391(e)(1)  because  (1)  Defendants  are 

agencies  of  the  United  States  or  officers  or  employees  thereof  acting  in their official capacity or under 

color  of  legal  authority;  (2)  no  real  property  is  involved  in  this  action,  and;  (3)  the  Defendants  all 

maintain offices within this district. 

                                      FIRST CLAIM FOR RELIEF 
                      (Agency Action Unlawfully Withheld and Unreasonably Delayed) 

          For his first claim for relief against all Defendants, Plaintiff alleges and state as follows: 

          18.     Plaintiff  realleges  and  incorporate  by  reference  the  foregoing  paragraphs  as  though 

fully set out herein. 

          19.     The  APA  requires  that  “[w]ith  due  regard  for  the  convenience  and  necessity  of  the 

parties  or  their  representatives  and  within  a  reasonable  time,  each  agency  shall  proceed  to  conclude  a 

matter  presented  to  it.”  5  U.S.C.  §  555(b).  Section  555(b)  creates  a  non-discretionary  duty  to 

conclude  agency  matters.  ​Litton  Microwave  Cooking  Prods.  v.  NLRB​,  949  F.2d  249,  253  (8th  Cir. 

1991). A violation of this duty is a sufficient basis for mandamus relief. 

          20.     The  APA  permits  this  Honorable  Court  to  “compel  agency  action  unlawfully 

withheld or unreasonably delayed.” 5 U.S.C. § 706(1). 

          21.     Plaintiff  alleges  that  his  application  has  been  in  administrative  processing  beyond  a 

reasonable  time  period  for  completing  administrative  processing  of  his  adjustment  of  status 



                                                          4 
                 Case 1:19-cv-01275 Document 1 Filed 05/01/19 Page 5 of 6



application.  

         22.      The  combined  delay  and failure to act on Plaintiff’s adjustment of status application is 

attributable  to  the  failure  of  Defendants  to  adhere  to  their  legal  duty  to  avoid  unreasonable  delays 

under the INA and the applicable rules and regulations. 

         23.      There are no alternative adequate or reasonable forms of relief available to Plaintiff. 

         24.      Plaintiff  has  exhausted  all  administrative  remedies  available  in  pursuit  of  a  resolution 

of this matter, including repeatedly requesting the processing of the case with the Defendants. 

                                         SECOND CLAIM FOR RELIEF 
                                    (Violation of Right to Due Process of Law) 

         For his second claim for relief against all Defendants, Plaintiff alleges and states as follows: 

         25.      Plaintiff  realleges  and  incorporate  by  reference  the  foregoing  paragraphs  as  though 

fully set out herein. 

         26.      The  right  to  fundamental  fairness  in  administrative  adjudication  is  protected  by  the 

Due  Process  Clause  of  the  Fifth  Amendment  to  the  United  States  Constitution.  Plaintiff  may  seek 

redress  in  this  Court  for  Defendants’  combined failures to provide a reasonable and just framework of 

adjudication in accordance with applicable law. 

         27.      The  combined  delay  and  failure  to  act  by  Defendants  has  violated  the  due  process 

rights of Plaintiff. 

         28.      The  combined  delay  and  failure  to  act by Defendants has irrevocably harmed Plaintiff 

in  that  Plaintiff  has  been  denied  the  opportunity  to  apply  for  citizenship,  has  not  been  able  to  claim 

lawful  permanent  resident  status,  has  not  been  able  to  sponsor  family  members  for  residence  in  the 

U.S. and in various other ways. 

                                                REQUEST FOR RELIEF 



                                                          5 
               Case 1:19-cv-01275 Document 1 Filed 05/01/19 Page 6 of 6



        WHEREFORE, Plaintiff Wenli Chen requests the following relief: 

        1.       That this Honorable Court assume jurisdiction over this action; 

        2.       That  this  Honorable  Court  issue  a  writ  of  mandamus  compelling  Defendants  to 

promptly complete all processing of Plaintiff’s application to adjust status within sixty days;  

        3.       That  this  Honorable  Court  take  jurisdiction  of  this  matter  and  adjudicate  Plaintiff’s 

application to adjust status pursuant to this Court’s declaratory judgment authority;  

        4.         That  this  Honorable  Court  issue a writ of mandamus compelling Defendants to issue 

a green card to Plaintiff; 

        5.       That  this  Honorable  Court  issue  a  writ  of  mandamus  compelling  Defendants  to 

explain  to  Plaintiff  the  cause  and  nature  of  the  delay  and  inform  Plaintiff of any action they may take 

to accelerate processing of the application to adjust status;  

        6.       Attorney’s  fees,  legal  interests,  and  costs  expended  herein,  pursuant  to  the  Equal 

Access to Justice Act, 28 U.S.C. § 2412; 

        7.       Such other and further relief as this Honorable Court may deem just and proper. 

                                                                           RESPECTFULLY SUBMITTED 
                                                                                  this 1st day of May, 2019 


                                                                                    /s/ James O. Hacking, III 
                                                                                          James O. Hacking, III 
                                                                                              MO Bar # 46728 
                                                                                   Hacking Law Practice, LLC 
                                                                            10900 Manchester Rd., Suite 203 
                                                                                         Kirkwood, MO 63122 
                                                                                             (O) 314.961.8200 
                                                                                              (F) 314.961.8201 
                                                                            (E) ​jim@hackinglawpractice.com  
                                                                                                                
                                                                          ATTORNEYS FOR PLAINTIFF 




                                                         6 
